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                 Valuation Appendix




                         August 2021



                         Civil Action
                         No. 21-532
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                                CFPB Enforcement Actions – Civil Penalties Collected(1)

  Company                                                                         Civil Penalty Collected   Collection Date
  Santander Consumer USA Inc                                                           $4,750,000             12/30/2020
  Discover Bank                                                                        $25,000,000            12/29/2020
  Encore Capital Group                                                                 $15,000,000            10/23/2020
  TD Bank, N.A.                                                                        $25,000,000            8/27/2020
  Equifax                                                                             $100,000,000            8/22/2019
  Wells Fargo Bank, N.A.                                                              $500,000,000            4/20/2018
  JPMorgan Chase                                                                       $4,600,000              8/4/2017
  Citibank, N.A.                                                                       $7,400,000             1/30/2017
  Navy Federal Credit Union                                                            $5,500,000             10/14/2016
  TMX Finance LLC                                                                      $9,000,000             9/29/2016
  Wells Fargo Bank, N.A.                                                              $100,000,000            9/19/2016
  Santander Bank, N.A.                                                                 $10,000,000            7/22/2016
  Hudson City Savings Bank, F.S.B.                                                     $5,500,000             11/13/2015
  Portfolio Recovery Associates, LLC                                                   $8,000,000             9/17/2015
  Encore Capital Group, Inc.                                                           $10,000,000            9/16/2015
  RBS Citizens Financial Group, Inc.                                                   $7,500,000             8/14/2015
  Citibank, N.A.                                                                       $35,000,000            7/24/2015
  JP Morgan Chase                                                                      $30,000,000            7/15/2015
  PayPal, Inc.                                                                         $10,000,000            5/29/2015
  Regions Bank                                                                         $7,500,000             4/30/2015
  Green Tree Servicing LLC                                                             $15,000,000            4/30/2015
  Wells Fargo Bank, N.A.                                                               $21,000,000            2/13/2015
  Flagstar Bank, F.S.B.                                                                $10,000,000            10/9/2014
  U.S. Bank, NA                                                                        $5,000,000             10/3/2014
  Amerisave Mortgage Corporation                                                       $6,000,000             8/22/2014
  Bank of America                                                                      $20,000,000            4/17/2014
  Ally Financial                                                                       $18,000,000            12/30/2013
  American Express                                                                     $9,600,000             12/23/2013
  JPMorgan Chase                                                                       $20,000,000            9/19/2013
  American Express                                                                     $14,100,000            10/1/2012
  Discover Bank                                                                        $7,000,000             9/28/2012
  Capital One Bank                                                                     $25,000,000            7/18/2012
                                                                       Average:        $33,050,000
                                                                       Median:         $10,000,000


(1) Excludes monetary damages allocated as consumer redress by CFPB.
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                                                   CFPB Financial reports




Fiscal Year 2021                                                    Fiscal Year 2015
•     CFO update for the second quarter of fiscal year 2021         •     Financial report of the CFPB for fiscal year 2015
•     CFO update for the first quarter of fiscal year 2021          •     CFO update for the fourth quarter of fiscal year 2015
Fiscal Year 2020                                                    •     CFO update for the third quarter of fiscal year 2015
•     Financial report of the CFPB for fiscal year 2020             •     CFO update for the second quarter of fiscal year 2015
•     CFO update for the fourth quarter of fiscal year 2020         •     CFO update for the first quarter of fiscal year 2015
•     CFO update for the third quarter of fiscal year 2020          Fiscal Year 2014
•     CFO update for the second quarter of fiscal year 2020         •     Financial report of the CFPB for fiscal year 2014
•     CFO update for the first quarter of fiscal year 2020          •     CFO update for the fourth quarter of fiscal year 2014
Fiscal Year 2019                                                    •     CFO update for the third quarter of fiscal year 2014
•     Financial report of the BCFP for fiscal year 2019             •     CFO update for the second quarter of fiscal year 2014
•     CFO update for the fourth quarter of fiscal year 2019         •     CFO update for the first quarter of fiscal year 2014
•     CFO update for the third quarter of fiscal year 2019          Fiscal Year 2013
•     CFO update for the second quarter of fiscal year 2019         •     Financial report of the CFPB for fiscal year 2013
•     CFO update for the first quarter of fiscal year 2019          •     CFO update for the fourth quarter of fiscal year 2013
Fiscal Year 2018                                                    •     CFO update for the third quarter of fiscal year 2013
•     Financial report of the BCFP for fiscal year 2018             •     CFO update for the second quarter of fiscal year 2013
•     CFO update for the fourth quarter of fiscal year 2018         •     CFO update for the first quarter of fiscal year 2013
•     CFO update for the third quarter of fiscal year 2018          Fiscal Year 2012
•     CFO update for the second quarter of fiscal year 2018         •     Financial report of the CFPB for fiscal year 2012
•     CFO update for the first quarter of fiscal year 2018          •     CFO update for the fourth quarter of fiscal year 2012
Fiscal Year 2017                                                    •     CFO update for the third quarter of fiscal year 2012
•     Financial report of the CFPB for fiscal year 2017             •     CFO update for the second quarter of fiscal year 2012
•     CFO update for the fourth quarter of fiscal year 2017         •     CFO update for the first quarter of fiscal year 2012
•     CFO update for the third quarter of fiscal year 2017          Fiscal Year 2011
•     CFO update for the second quarter of fiscal year 2017         •     Financial report of the CFPB for fiscal year 2011
•     CFO update for the first quarter of fiscal year 2017          •     CFO update for the fourth quarter of fiscal year 2011
Fiscal Year 2016                                                    •     CFO update for the third quarter of fiscal year 2011
•     Financial report of the CFPB for fiscal year 2016             •     CFO update for the second quarter of fiscal year 2011
•     CFO update for the fourth quarter of fiscal year 2016         •     CFO update for the first quarter of fiscal year 2011
•     CFO update for the third quarter of fiscal year 2016
•     CFO update for the second quarter of fiscal year 2016
•     CFO update for the first quarter of fiscal year 2016
